                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                         Inmate: 203199 - SCHMITT, BRADLEY A.

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject             Brief Summary
    02/05/2016       WRC-2016-2596             7 - Personal         Clock/radio broken.
                                               Property
    02/09/2017       WRC-2017-4387             17 - Inmate          States there are errors in his account.
                                               Accounts
    02/09/2017       WRC-2017-4388             17 - Inmate          Challenges deductions to his account.
                                               Accounts
                                                    *** End of Report ***




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                                                    ** ICRS CONFIDENTIAL **                  EXHIBIT
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